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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF LOUISIANA

In Re:     KATRINA CANAL BREACHES                   §      CIVIL ACTION
           CONSOLIDATED LITIGATION                  §      NO. 05-4182 “K” (2)
________________________________________            §      JUDGE DUVAL
                                                    §      MAG. WILKINSON
           PERTAINS TO: MRGO                        §
________________________________________            §




                                  NOTICE OF HEARING

TO:      All Counsel of Record.

         PLEASE TAKE NOTICE THAT, the undersigned will hear the United

States of America’s Motion to Dismiss at the Courtroom of the Honorable

Stanwood R. Duval, Jr, United States Courthouse at 500 Poydras Street, New

Orleans, LA, 70130, on the 11th day of November, 2009, at 9:30 a.m.

         New Orleans, Louisiana, this ____ day of __________, 2009.


                                        ______________________________
                                        Judge Stanwood R. Duval, Jr.
                                        Eastern District of Louisiana
